              Case 2:23-cv-00063-DCN Document 46 Filed 05/06/24 Page 1 of 5



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11   Attorney for Plaintiff
                                                                   Hon. David C. Nye
12

13
14
15                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF IDAHO
16
     JAMES LEIGHTY,
17                                              No. 2:23-cv-00063-DCN
                               Plaintiff,
18                                              JOINT MOTION AND ORDER FOR
                    v.                          ENTRY OF STIPULATED FINAL
19                                              JUDGMENT
     SHERIFF DARYL WHEELER, and
20   JON VAN GESEN, individual officers;
     BONNER COUNTY, a municipal
21   corporation; BONNER COUNTY
     SHERIFF'S OFFICE, a subdivision of a
22   municipal corporation,
23                             Defendants.

      JOINT MOTION FOR ENTRY OF STIPULATED FINAL JUDGMENT
      AND ORDER - 1                                             MACDONALD HOAGUE & BAYLESS
                                                                  705 Second Avenue, Suite 1500
                                                                     Seattle, Washington 98104
      2:23-CV-00063-DCN                                         Tel 206.622.1604 Fax 206.343.3961
             Case 2:23-cv-00063-DCN Document 46 Filed 05/06/24 Page 2 of 5



 1                                   I.     STIPULATION
 2         Plaintiff Jim Leighty and Defendants Daryl Wheeler, Jon Van Gesen,
 3   Bonner County, and Bonner County Sheriff’s Office have resolved all matters in
 4   dispute arising from the conduct alleged in the Amended Complaint, Dkt. 22. The

 5   parties agreed to, and the Court entered, a Stipulated Permanent Injunction which
     constitutes final judgment in this matter. Dkt. 45. Now, the parties hereby stipulate
 6
     to an entry of judgment against Defendants with respect to injunctive relief only.
 7
                                          II.    ORDER
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           By stipulation of the parties and having reviewed the pleadings in this case,
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     and being otherwise fully advised in this matter, the Court hereby ORDERS:
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        1. Judgment is hereby entered in favor of Plaintiff Jim Leighty against
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           Defendants as to injunctive relief.
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        2. The parties agree to bear their own costs and attorney fees and waive any
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           claim they have concerning costs and attorney fees arising from this matter
14         to date. All claims for damages have also been resolved and are not part of
15         this judgment.
16      3. The parties waive all rights to appeal or otherwise challenge or contest the
17         validity of this Order.

18      4. This Court retains jurisdiction of this matter for purposes of construction,
19         modification, and enforcement of the Stipulated Permanent Injunction, Dkt.

20         45.

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     JOINT MOTION FOR ENTRY OF STIPULATED FINAL JUDGMENT
     AND ORDER - 2                                                  MACDONALD HOAGUE & BAYLESS
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            Case 2:23-cv-00063-DCN Document 46 Filed 05/06/24 Page 3 of 5



 1
     DATED this _____ day of May, 2024.
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 5                                       Hon. David C. Nye
                                         United States District Court Judge
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     JOINT MOTION FOR ENTRY OF STIPULATED FINAL JUDGMENT
     AND ORDER - 3                                              MACDONALD HOAGUE & BAYLESS
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 1   PRESENTED BY:
 2
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     JOINT MOTION FOR ENTRY OF STIPULATED FINAL JUDGMENT
     AND ORDER - 4                                             MACDONALD HOAGUE & BAYLESS
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              Case 2:23-cv-00063-DCN Document 46 Filed 05/06/24 Page 5 of 5



 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that I caused the following to be electronically filed with the Clerk of the

 3   Court using CM/ECF System which will send notification of such filing to the following parties:

            Attorneys for Defendants
 4
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 7                 sking@ecl-law.com
 8
            DATED this 6th day of May, 2024, at Seattle, Washington.
 9
10                                                 /s/Chris Bascom
                                                   Chris Bascom, Legal Assistant
11
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      JOINT MOTION FOR ENTRY OF STIPULATED FINAL JUDGMENT
      AND ORDER - 5                                                            MACDONALD HOAGUE & BAYLESS
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